                  UNITED  STATES COURT
                   Case: 25-1565       OF8APPEALS
                                 Document:   Page: 1FORDate
                                                       THEFiled:
                                                            THIRD  CIRCUIT
                                                                 04/08/2025

                                               No.

                                                        vs.

                                           ENTRY OF APPEARANCE

 Please     the names of all parties represented, using additional sheet(s) if necessary:



Indicate the party’s role IN THIS COURT (check only one):

        ____ Petitioner(s)            ____ Appellant(s)              ____ Intervenor(s)

        ____ Respondent(s)            ____ Appellee(s)               ____ Amicus Curiae

(Type or Print) Counse ’s Name ________________________________________________________________
                                  ____ Mr.    ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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ATTORNEYS WHO ARE MEMBERS OF THIS COURT’S BAR OR WHO HAVE SUBMITTED A
PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV.
